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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THE PUBLIC INTEREST LEGAL           :
FOUNDATION,                         :
                                    :
                  Plaintiff,        :
                                    :
      v.                            :              NO. 1:19-CV-622
                                    :
KATHY BOOCKVAR, in her official     :              CHIEF JUDGE CONNER
capacity as Acting Secretary of the :
Commonwealth of Pennsylvania,       :              ELECTRONICALLY FILED
JONATHAN M. MARKS, in his official :
capacity as Deputy Secretary for    :
Elections and Commissions, and the  :
BUREAU OF COMMISSIONS,              :
ELECTIONS AND LEGISLATION,          :
                                    :
                  Defendants.       :

      DEFENDANTS’ UNOPPOSED MOTION FOR ENLARGEMENT
             OF TIME TO RESPOND TO COMPLAINT

      Defendants Kathy Boockvar, Secretary of the Commonwealth of

Pennsylvania, Jonathan M. Marks, Deputy Secretary for Elections and

Commissions, and the Bureau of Commissions, Elections and Legislation, by and

through their undersigned counsel, hereby move for an enlargement of time to

respond to the Complaint in the above-referenced matter and, in support thereof,

aver as follows:
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      1.    By Memorandum and Order dated December 13, 2019, the Court

granted in part and denied in part Defendants’ Motion To Dismiss.


      2.    Pursuant to Rule 12(a)(4) of the Federal Rules of Civil Procedure, the

deadline for Defendants to file and serve responsive pleading is Friday, December

27, 2019.


      3.    Due to holiday vacation and travel plans, Defendants respectfully

request a 14-day enlargement of time until Friday, January 10, 2020 to file a

responsive pleading.


      4.    Counsel for Plaintiff concurs in this motion.
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      WHEREFORE, Defendants respectfully request a 14-day enlargement of

time until Friday, January 10, 2020 to file a responsive pleading.


                                             Respectfully submitted,

                                             /s/ Daniel T. Brier
                                             Daniel T. Brier
                                             Donna A. Walsh

                                             Counsel for Defendants,
                                             Secretary Kathy Boockvar, Deputy
                                             Secretary Jonathan M. Marks and
                                             Bureau of Commissions, Elections
                                             and Legislation

Myers, Brier & Kelly, LLP
425 Spruce Street, Suite 200
Scranton, PA 18503
(570) 342-6100

Dated: December 23, 2019
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                 CERTIFICATE OF NON-CONCURRENCE

      I, Daniel T. Brier, hereby certify that I sought the concurrence of counsel for

Plaintiff, Noel Johnson, Esquire, in this Motion. Mr. Johnson concurs in this

Motion.


                                                    /s/ Daniel T. Brier

Date: December 23, 2019
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                         CERTIFICATE OF SERVICE

      I, Daniel T. Brier, hereby certify that a true and correct copy of the foregoing

Motion for Enlargement of Time was served upon the following counsel of record

via the Court’s ECF system on this 23rd day of December, 2019:


                          J. Christian Adams, Esquire
                          Public Interest Legal Foundation, Inc.
                          1555 King Street, Suite 200
                          Alexandria, VA 22314

                          Noah H. Johnson, Esquire
                          Public Interest Legal Foundation
                          32 E. Washington Street, Suite 1675
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                          Linda A. Kerns, Esquire
                          Law Offices of Linda A. Kerns, LLC
                          1420Locust Street, Suite 200
                          Philadelphia, PA 19102


                                                    /s/ Daniel T. Brier
